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FOR THE WESTERN DISTRJCT OF TENNESSEE w 1 _,

WESTERN DIVISION 05 JL=,~J 23 r’H w 1+,

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UNITED sTATEs op AMERICA ) W‘U' \~" *‘N-\ "‘~"“"°'H‘°
)
Plaintiff, )
)

VS ) CR. NO. 05-20188-1\’11

)
JAMES IVY )
)
Defendant(s) )
)

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause was set a Report Date on Friday, June 24, 2005 at 9:00
a.m. Counsel for the defendant requested a continuance of the present
setting. The continuance is necessary to allow for additional
preparation in the case.

The Court granted the request and continued the matter for Report
mate to FRIDAY, JULY 22, 2005 at §=00 a.m. with a trial date of Monday,
August l, 2005 at 9:30 a.m.

The period from June 24, 2005 through August 12, 2005 is excludable
under 18 U.S.C. § 3161(h)(8)(B)(iv) to allow defense counsel additional
time to prepare.

IT Is so onnERED this the 033 day of June, 2005.

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JO PHIPPS MCCALLA
TED STATES DISTRICT JUDGE

   
  

 

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UNITED sTATE DRISTIC COURT - WESTER D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 2:05-CR-20188 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

